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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

   SAMANTHA RING,

              Plaintiff,

   v.                                       Case No. 8:19-cv-772-T-33JSS

   BOCA CIEGA YACHT CLUB INC.,

             Defendant.
   ______________________________/

                       ORDER APPOINTING MEDIATOR

        Pursuant to the Amended Notice of Scheduled Mediation

   (Doc. # 22), filed on May 9, 2019, and in accordance with the

   rules governing mediation set forth in Chapter Nine of the

   Rules of the United States District Court for the Middle

   District   of   Florida,   it   is       ORDERED   that   the   following

   individual is hereby APPOINTED by the Court to serve as

   Mediator in this action:

        Name of Mediator:       Karl J. Brandes, Esq.

        Address:                Phelps Dunbar LLP
                                100 South Ashley Drive, Suite 1900
                                Tampa, Florida 33602

        Telephone:              (813) 472-7550

        By agreement of the parties, the mediation conference is

   scheduled for October 30, 2019, at 10:00 A.M. at the location

   listed above.



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         The parties are directed to mediate in good faith and to

   fully and faithfully explore every settlement opportunity.

   Furthermore, the Court directs that all counsel, parties,

   corporate     representatives,    and   any   other   required   claims

   professionals shall be present at the mediation conference

   with full authority to negotiate a settlement. The Court does

   not   allow    mediation   by    telephone    or   video   conference.

   Personal attendance is required. See Local Rule 9.05(c).

         DONE and ORDERED in Tampa, Florida, this 13th day of

   May, 2019.




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